Case 1:04-cv-07280-GBD-SN Document 535-3 Filed 04/01/19 Page 1 of 13




            Exhibit 3
Case 1:04-cv-07280-GBD-SN Document 535-3 Filed 04/01/19 Page 2 of 13




                                                         WAMY SA 5804
                  Case 1:04-cv-07280-GBD-SN Document 535-3 Filed 04/01/19 Page 3 of 13
                                  In the Name of Allah Most Gracious
                                             Most Merciful


                                                                                  ‫ﺍﻟﻨﺪﻭﺓ ﺍﻟﻌﺎﻟﻤﻴﺔ‬
World Assembly of Muslim Youth
   Member of the UN NGO’s                                                          ‫ﻟﻠﺸﺒﺎﺏ ﺍﻹﺳﻼﻣﻲ‬
                                                                            ‫ﻏ� ﺍﻟﺤﻜﻮﻣ�ﺔ – ﻫﻴﺌﺔ ﺍﻷﻣﻢ ﺍﻟﻤﺘﺤﺪﺓ‬
                                                                                                          ‫ﻋﻀﻮ ﺍﻟﻤﻨﻈﻤﺎﺕ ﻱ‬



      Ref. No: 1/34184                                                                   ‫ﻣﻜﺘﺐ ﻱ ﻥ‬
                                                                           ‫ﺍﻷﻣﻥ ﺍﻟﻌﺎﻡ ﺍﻟﻤﺴﺎﻋﺪ‬
      Date: 14-06-1433 Hijri                                       The Assistant Secretary-General Office
      Corresponding to: 05-05-2012 A.D.

             To Your Excellency Mr. Al-Ameen Ahmad Zayed
             The Manager of the Assembly’s Office in The Sudan


             Greetings,
             I hope you are well and in good health.
             In addition to the letter we sent you No. (1/34006) dated on 15/05/1433 Hijri in which we
             requested you to fill in the forms of several subjects for the period from 1992 to 2002 A.D., in
             addition to some up-to-date information about the office, we kindly request you to provide us
             with all the account statements of your office along with the audited budgets for the period from
             1992 to 2002 A.D.


             Kind Regards,
             May the peace and blessings of Allah be upon you.


      Assistant Secretary-General of Offices
           and International Relations                                    Stamp: World Assembly of Muslim Youth
                                                                                 General Secretariat / Riyadh
   Dr. Abdul-Hameed Bin Yousuf Al-Mazroo
                                                                            Established in: 1972 A.D. – 1392 Hijri
                [signature]




WAMY SA 5804
P.O. Box: 10845 Riyadh 11443 – Kingdom of Saudi Arabic                 ‫ – ﺍﻟﻤﻤﻠﻜﺔ ﺍﻟﻌﺮﺑﻴﺔ ﺍﻟﺴﻌﻮﺩﻳﺔ‬11443 ‫ – ﺍﻟﺮﻳﺎﺽ‬10845 :‫ﺏ‬.‫ﺹ‬
Building 1079 King Fahd Road – Muhammadiah Dist.                                ‫ – ﻁﺮﻳﻖ ﺍﻟﻤﻠﻚ ﻓﻬﺪ – ﺣﻲ ﺍﻟﻤﺤﻤﺪﻳﺔ‬1079 :‫ﺭﻗﻢ ﺍﻟﻤﺒﻨﻰ‬
Tel: (+9661) 2050000 – Fax: (+9661) 2050011                             (+9661) 2050011 :‫( – ﻓﺎﻛﺲ‬+9661) 2050000 :‫ﻫﺎﺗﻒ‬
                                  www.wamy.org             e-mail: info@wamy.org
    Case 1:04-cv-07280-GBD-SN Document 535-3 Filed 04/01/19 Page 4 of 13



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                                                                                 Toll free: 888 250 2611
                                                                                 Fax: 914 219 0919
                                                                                 wwwnovalanguages.com
CERTIF'ICATE OF ACCURACY

STA|E of New      York) $
County of New York)



I, VictoriaVaile, Translation Manager for Nova Languages, Inc., being duly sworn, hereby certifu that
Mohanned Khallof is a translator affrliated with Nova Languages, Inc., a corporate member of the American
TranslatorsAssociation, and that he is competent to translate from the Arabic language to the English language.
And that he translated the following document from the Arabic language to the English language.
The translation was proofread and reviewed and is accurate to the best of my knowledge and belief.

RE: Letter to the Assembly's Office in the Sudan



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Sworn to before me this
                                                                Translation Manager
     day of
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                             '
                                                                       Notary




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       American Translators Association
    Case 1:04-cv-07280-GBD-SN Document 535-3 Filed 04/01/19 Page 5 of 13




CONFIDENTIAL                                                  WAMYSA753559
                  Case 1:04-cv-07280-GBD-SN Document 535-3 Filed 04/01/19 Page 6 of 13
                                  In the Name of Allah Most Gracious
                                             Most Merciful


World Assembly of Muslim Youth
                                                                                   ‫ﺍﻟﻨﺪﻭﺓ ﺍﻟﻌﺎﻟﻤﻴﺔ‬
   Member of the UN NGO’s                                                           ‫ﻟﻠﺸﺒﺎﺏ ﺍﻹﺳﻼﻣﻲ‬
         Office Sudan                                                        ‫ﻏ� ﺍﻟﺤﻜﻮﻣ�ﺔ – ﻫﻴﺌﺔ ﺍﻷﻣﻢ ﺍﻟﻤﺘﺤﺪﺓ‬
                                                                                                           ‫ﻋﻀﻮ ﺍﻟﻤﻨﻈﻤﺎﺕ ﻱ‬
                                                                                             ‫ﻣﻜﺘﺐ ﺍﻟﺴﻮﺩﺍﻥ‬

                                   Leading Organization for Distinguished Youth

    Date: 22/01/1437 Hijri
                                                                          No. 324/ N S /4 /36
          U




    Corresponding to: 04/11/2015 A.D.
                                                                               U




                           U




              To Your Excellency the Manager of The Bank of Khartoum - Parliament Branch
              Khartoum City - The Sudan
              Greetings,


                                         Subject: Bank Account Statement
                                         U




              With respect to the above stated subject, the World Assembly of Muslim Youth is the owner of
              the previous account No. (19160). Therefore, we kindly request you to provide us with copies of
              all the accounts statements of the numbers of the bank accounts stated above for the period (from
              1992 to 2004 A.D.), and we hope to receive them within a month from now.


              Kind Regards.




     Stamp: World Assembly of Muslim Youth
                 The Sudan Office
       Established in: 1972 A.D. – 1392 Hijri
                                                                                                        A copy to:
                                                                                                        - File 4
       Eng. Sameer Mohammad Halawani                                                                    - The Accountant
     The Manager of the Office in The Sudan
                  [signature]




CONFIDENTIAL                                                  WAMYSA753559
Mojaheden – Khartoum                                                    ‫ ﺍﻟﺨﺮﻁﻮﻡ – ﺍﻟﻤﺠﺎﻫﺪﻳﻦ – ﺟﺎﻣﻌﺔ ﺇﻓﺮﻳﻘﻴﺎ – ﻣﺴﺠﺪ ﺍﻟﺮﻭﺿﺔ‬:‫ﺍﻟﻤﻘﺮ‬
Tel: 0157908528                                                                                            0157908528 :‫ﺗﻠﻔﻮﻥ‬
P.O. Box: 4375 – Khartoum – The Sudan                                                         ‫ – ﺍﻟﺨﺮﻁﻮﻡ – ﺍﻟﺴﻮﺩﺍﻥ‬4375 :‫ﺏ‬.‫ﺹ‬
    Case 1:04-cv-07280-GBD-SN Document 535-3 Filed 04/01/19 Page 7 of 13



Xr-IOfilALanguages
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                                                                                       Times Square Station
                                                                                       New York, NY 10108
                                                                                       Tel: 646 707 0923
                                                                                       Toll free. 888 250 2611
                                                                                       Fax. 914 219 0919
                                                                                       www. nova la n g ua ges. com

CERTIFICATE OF ACCURACY

STATE of New       York) $
County of New York)



I, VictoriaVaile, Translation Manager for Nova Languages, Inc., being duly sworn, hereby certifr that
Mohanned Khallof is a translator affiliated with Nova Languages, Inc., a corporate member of theAmerican
TranslatorsAssociation, and that he is competent to translate from the Arabic language to the English language.
And that he translated the following document from the Arabic language to the English language.
The translation was proofread and reviewed and is accurate to the best of my knowledge and belief.

RE: Letter to the Bank of Khartoum - Parliament Branch



                                                                                                      tt




Sworn to before me this                                     r   Translation Manager
     day of                             of 20   if
                                                                        Notary


                                                                        tsARBARA CANTON JACKSON
                                                                      Netary Public - State of New York
                                                                             NO. 01 CA6203682
                                                                        Qualified in New York County
                                                                     My Commission Expires Apr 1 3,2421




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       America n Tra nslators Association




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    Case 1:04-cv-07280-GBD-SN Document 535-3 Filed 04/01/19 Page 8 of 13




CONFIDENTIAL                                                  WAMYSA753560
                 Case 1:04-cv-07280-GBD-SN Document 535-3 Filed 04/01/19 Page 9 of 13
                                In the Name of Allah Most Gracious
                                           Most Merciful


World Assembly of Muslim Youth
                                                                               ‫ﺍﻟﻨﺪﻭﺓ ﺍﻟﻌﺎﻟﻤﻴﺔ‬
   Member of the UN NGO’s                                                       ‫ﻟﻠﺸﺒﺎﺏ ﺍﻹﺳﻼﻣﻲ‬
         Office Sudan                                                     ‫ﻏ� ﺍﻟﺤﻜﻮﻣ�ﺔ – ﻫﻴﺌﺔ ﺍﻷﻣﻢ ﺍﻟﻤﺘﺤﺪﺓ‬
                                                                                                        ‫ﻋﻀﻮ ﺍﻟﻤﻨﻈﻤﺎﺕ ﻱ‬
                                                                                          ‫ﻣﻜﺘﺐ ﺍﻟﺴﻮﺩﺍﻥ‬

                                Leading Organization for Distinguished Youth



    Date: 21/02/1437 Hijri
    Corresponding to: 03/12/2015 A.D.
                                                                      No. 323/ N S /04 /37


            To Your Excellency the Manager of Al Baraka Bank- Bahri Alsenaat Branch
            Khartoum City - The Sudan
            Greetings,


                                        Subject: Bank Account Statement
                                        U




            With respect to the above stated subject, the World Assembly of Muslim Youth is the owner of
            the current accounts No. (10/806) and (1956). Therefore, we kindly request you to provide us
            with copies of all the accounts statements of the numbers of the bank accounts stated above for
            the period (from 1992 to 2004 A.D.), and we hope to receive them within a month from now.


            Kind Regards.




     Stamp: World Assembly of Muslim Youth
                 The Sudan Office
       Established in: 1972 A.D. – 1392 Hijri
                                                                                                     A copy to:
                                                                                                     - File 4
       Eng. Sameer Mohammad Halawani                                                                 - The Accountant
     The Manager of the Office in The Sudan
                  [signature]




CONFIDENTIAL                                               WAMYSA753560
Mojaheden – Khartoum                                                 ‫ ﺍﻟﺨﺮﻁﻮﻡ – ﺍﻟﻤﺠﺎﻫﺪﻳﻦ – ﺟﺎﻣﻌﺔ ﺇﻓﺮﻳﻘﻴﺎ – ﻣﺴﺠﺪ ﺍﻟﺮﻭﺿﺔ‬:‫ﺍﻟﻤﻘﺮ‬
Tel: 0157908528                                                                                         0157908528 :‫ﺗﻠﻔﻮﻥ‬
P.O. Box: 4375 – Khartoum – The Sudan                                                      ‫ – ﺍﻟﺨﺮﻁﻮﻡ – ﺍﻟﺴﻮﺩﺍﻥ‬4375 :‫ﺏ‬.‫ﺹ‬
      Case 1:04-cv-07280-GBD-SN Document 535-3 Filed 04/01/19 Page 10 of 13



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                                                                                  Fax: 914 219 0919
                                                                                  www. nova la ng ua g es. com

CERTIFICATE OF ACCURACY

STATE of New       York) $
County of New York)



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TranslatorsAssociation, and that he is competent to translate from the Arabic language to the English language.
And that he translated the following document from the Arabic language to the English language.
The translation was proofread and reviewed and is accurate to the best of my knowledge and belief.

RE: Letter to Al Baraka Bank - Bahri Alsenaat Branch



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Sworn to before me this                                       l/Translation Manager
  /    day of                            of 20   /?

                                                                       Notary




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        America n Tra nslators Association




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    Case 1:04-cv-07280-GBD-SN Document 535-3 Filed 04/01/19 Page 11 of 13




CONFIDENTIAL                                                   WAMYSA590694
                  Case 1:04-cv-07280-GBD-SN Document 535-3 Filed 04/01/19 Page 12 of 13




                                                                                                       Memorandum




              Reference: B B S / Bahri
              Date: 17/01/2016 A.D.
              Sirs. / Messrs. at the World Assembly of Muslim Youth
              Greetings,


                                         Subject: Bank Account Statement
                                         U




                                             The World Assembly of Muslim Youth
                                             U




              With respect to the above stated subject and the letter you sent on 04/11/2015 A.D. in which you
              requested us to provide you with the bank account statements for the period from 01/01/1992
              A.D. to 31/12/1999 A.D., we regret to inform you that we cannot extract these bank account
              statements because there are no data available on the devices of the stated period.


              Kind Regards,


                  Manager of Bahri Alsenaat Branch
                               [signature]



                                                               Stamp: AlBaraka Bank Sudan
                                                                      Date: 17 January, 2013
                                                                      Branch: Bahri (Alsenaat) 05




           Tel: +249187112000       AlBaraka Bank Sudan              +2491871120 :‫ﻫﺎﺗﻒ‬                   ‫ﺑﻨﻚ ﺍﻟﺒﺮﻛﺔ ﺍﻟﺴﻮﺩﺍﻥ‬
CS/010/2




           Fax: +249183788585       P.O. Box: 3583, Khartoum       +249183788585 :‫ﻓﺎ�ﺲ‬               ‫ ﺍﻟﺨﺮﻁﻮﻡ‬،3583 :‫ﺏ‬.‫ﺹ‬
           www.albaraka.com.sd      Sudan                          www.albaraka.com.sd                             ‫ﺍﻟﺴﻮﺩﺍﻡ‬

             CONFIDENTIAL                                                                      WAMYSA590694
   Case 1:04-cv-07280-GBD-SN Document 535-3 Filed 04/01/19 Page 13 of 13



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                                                                                                   Toll free: 888 250 2611
                                                                                                   Fax: 914 219 0919
                                                                                                   www. nova la ng uages. com

CERTIFICATE OF ACCT]RACY

STATE of New      York) $:
County of New York)



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TranslatorsAssociation, and that he is competent to translate from the Arabic language to the English language
And that he translated the following document from the Arabic language to the English language.
The translation was proofread and reviewed and is accurate to the best of my knowtedge and belief.

RE: Reply to due diligence letter from Al Baraka Bank



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Sworn to before me this                                        t/
                                                               Translation Manager
  I day of                              of 20   /f
                                                                                                                           /\--
                                                                                    Notary


                                                                                 BARBARA CANION JACKSON
                                                                                Notary Public - State of New york
                                                                                        NO. 01 CA6203682
                                                                                  Qualified in New york County
                                                                               My Commission Expires Apr j 3, 2OZ1



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       America n Tra nslators Association




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